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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

 CIN-Q AUTOMOBILES, INC. and       )
 MEDICAL & CHIROPRACTIC CLINIC,    )
 INC., individually and on behalf of a class,
                                   )
                                   )
         Plaintiffs,               ) No.: 8:13-CV-01592-AEP
                                   )
                v.                 )
                                   )
 BUCCANEERS LIMITED PARTNERSHIP,   )
                                   )
         Defendant.                )
 ____________________________      )
                                   )
 TECHNOLOGY TRAINING ASSOCS., INC. )
 et al.,                           )
                                   )
          Intervenors.             )

               PLAINTIFFS’ UNOPPOSED MOTION TO STAY

      Plaintiffs, Cin-Q Automobiles, Inc. and Medical & Chiropractic Clinic, Inc.,

respectfully move the Court to stay this case pending the later of: (1) a decision from

the Eleventh Circuit regarding whether users of “online fax services” have Article III

standing to sue under the TCPA in Marc Irwin Sharman, M.D., P.A. v. Precision

Imaging St. Augustine, LLC, No. 24-90023 (11th Cir.) (“Precision”); and (2) a decision

from the Supreme Court of the United States regarding whether a district court is

required to follow the FCC’s interpretations of the TCPA in McLaughlin Chiropractic

Assoc. v. McKesson Corp., No. 23-1226, cert. granted 2024 WL 4394119, at *1 (U.S. Oct.

4, 2024) (hereinafter, “McKesson”). The basis for this motion is as follows:
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       1.     On October 21, 2024, the Eleventh Circuit in Precision granted the

plaintiff’s petition for interlocutory appeal from the district court’s denial of class

certification in a TCPA fax case. (See Ex. A, Order). The district court denied class

certification on the basis that (a) users of “online fax services” lack Article III

standing to sue under TCPA; (b) there was no administratively feasible way to

determine which class members received the faxes at issue via an online fax service,

as opposed to “stand-alone” fax machines; and (3) therefore, individual issues

predominated over common issues, making class certification inappropriate. Marc

Irwin Sharfman, M.D., P.A. v. Precision Imaging St. Augustine, LLC, No. 6:22-CV-642-

WWB-DCI, 2024 WL 4460209, at *1 (M.D. Fla. Aug. 2, 2024).

       2.     The plaintiff petitioned the Eleventh Circuit to accept interlocutory

review of the district court’s denial of class certification under Rule 23(f). The

Eleventh Circuit granted the petition, finding that “the Article III standing issue

identified in the Petition . . . warrants interlocutory review.” (Ex. A).

       3.     BTL’s assertion that users of “online fax services” lack Article III

standing to sue under the TCPA forms the crux of BTL’s pending Motion to Dismiss

Class Claims for Lack of Article III Standing and to Decertify the Class (Doc. 492 at

15–20) and BTL’s Opposition to Plaintiffs’ Motion for Final Approval (Doc. 496 at

13–14). The Eleventh Circuit is poised to decide that issue in Precision.

       4.     The question presented in McKesson is “Whether the Hobbs Act

required the district court in this case to accept the FCC’s legal interpretation of the

Telephone Consumer Protection Act.” Pet. for Writ of Certiorari, 2024 WL

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2325969, at *i (May 17, 2024). The FCC interpretation at issue in McKesson is the

same ruling that BTL urges the Court to follow in its pending Motion to Dismiss

Class Claims for Lack of Article III Standing and to Decertify the Class (Doc. 492 at

15–20), namely In re Amerifactors Fin. Group, LLC Pet. for Expedited Declaratory Ruling,

2019 WL 6712128 (CGAB Dec. 9, 2019) (“Amerifactors Bureau Ruling”).

      5.     The Eleventh Circuit, like the Ninth Circuit, answers the question

presented in McKesson in the affirmative: in this circuit a district court “may not

determine the validity of FCC orders, including by refusing to enforce an FCC

interpretation, because ‘[d]eeming agency action invalid or ineffective is precisely the

sort of review the Hobbs Act delegates to the courts of appeals in cases challenging

final FCC orders.’” Murphy v. DCI Biologicals Orlando, LLC, 797 F.3d 1302, 1307

(11th Cir. 2015) (quoting Mais v. Gulf Coast Collection Bureau, Inc., 768 F.3d 1110,

1120–21 (11th Cir. 2014)); Gorss Motels, Inc. v. Safemark Sys., LP, 931 F.3d 1094, 1109

(11th Cir. 2019) (Pryor, J., concurring) (arguing these Hobbs-Act precedents were

wrongly decided, but acknowledging they are controlling).

      6.     The question of whether this Court is required to follow the FCC’s

interpretation of the TCPA is potentially outcome determinative in resolving BTL’s

pending Motion to Decertify the Class (Doc. 492) and Plaintiffs’ pending Motion for

Final Approval (Doc. 482). BTL relies on the Amerifactors Bureau Ruling’s

interpretation that the TCPA’s definition of “telephone facsimile machine,” 47

U.S.C. § 227(a)(3), is not implicated where a consumer uses a service to “access




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‘faxes’ the same way that they do email: by logging into a server over the Internet or

by receiving a pdf attachment [as] an email.” (Amerifactors Bureau Ruling ¶ 2).

      7.     Plaintiffs rely on two earlier FCC rulings, In re Rules & Regulations

Implementing the Tel. Consumer Prot. Act of 1991, 18 FCC Rcd. 14014, 14133 ¶¶ 199–

201 (FCC July 3, 2003) (“2003 Commission Order”) (ruling faxes sent to

“computerized fax servers” and then delivered to the end-user’s electronic “inbox”

are “subject to the TCPA’s prohibition on unsolicited faxes”); In re WestFax, Inc.

Petition for Consideration & Clarification, 30 FCC Rcd. 8620, 2015 WL 5120880, at *1 ¶

1 (CGAB Aug. 28, 2015) (WestFax Bureau Ruling) (stating, “[t]he definition of

‘telephone facsimile machine’ sweeps in the fax server and modem, along with the

computer that receives the efax because together they by necessity have the capacity

to ‘transcribe text or images (or both) from an electronic signal received over a

telephone line onto paper’”). (See Doc. 505, Pls.’ Opp. Mot. Decertify at 5–11; Doc.

508, Pls.’ Reply Supp. Final Approval at 8–9, 24–25).

      8.     In the decision being reviewed by the Supreme Court in McKesson, the

Ninth Circuit held the district court was required by the Hobbs Act to follow the

Amerifactors Bureau Ruling and decertify the class because the plaintiff failed to

distinguish between users of traditional “stand-alone” fax machines and e-fax

recipients, exactly the outcome BTL seeks here. True Health Chiropractic, Inc. v.

McKesson Corp., No. 22-15710, 2023 WL 7015279, at *2 (9th Cir. Oct. 25, 2023). The

Supreme Court will decide in McKesson whether the Ninth Circuit was correct, and

that decision will control whether this Court is required to follow the various FCC

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interpretations urged by the parties in this case, or whether the Court should “do [its]

ordinary job of interpreting statutes, with due respect for the views of the Executive

Branch.” Loper Bright Enterprises v. Raimondo, 144 S. Ct. 2244, 2267 (2024). A stay is

therefore warranted.

                                Precise Relief Requested

       9.     Plaintiffs request the entry of an Order staying this case pending the

Supreme Court’s decision in McKesson, No. 23-1226 (U.S.).

                               Basis for Relief Requested

       10.      A stay is appropriate under the Court’s inherent powers under Landis v.

N. Am. Co., 299 U.S. 248, 254 (1936), because awaiting decisions in McKesson and

Precision will not unduly prejudice BTL, which agrees that a stay is appropriate, or

Intervenors; the stay will likely simplify the issues of whether users of “online fax

services” have Article III standing and whether the FCC’s interpretations with

respect to the definition of “telephone facsimile machine” are binding on this Court;

and the stay will in all probability reduce the burden of litigation on the parties and

on the Court.

                             MEMORANDUM OF LAW

I.     Legal Standard

       “[T]he power to stay proceedings is incidental to the power inherent in every

court to control the disposition of the causes on its docket with economy of time and

effort for itself, for counsel, and for litigants.” Landis, 299 U.S. at 254. In determining

whether to grant a stay, courts generally examine three factors: (1) whether a stay


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will unduly prejudice or tactically disadvantage the non-moving party; (2) whether a

stay will simplify the issues and streamline the litigation; and (3) whether a stay will

reduce the burden of litigation on the parties and on the court. Freedom Scientific, Inc.

v. GW Micro, Inc., No. 8:05-cv-1365-T-33TBM, 2009 WL 2423095, at *1 (M.D. Fla.

July 29, 2009).

       A district court has discretion to “stay a case pending the resolution of related

proceedings in another forum . . . . ” Ortega Trujillo v. Conover & Co. Comm'ns, Inc.,

221 F.3d 1262, 1264 (11th Cir. 2000) (per curiam). Where “a federal appellate

decision . . . is likely to have a substantial or controlling effect on the claims and

issues,” a stay is potentially warranted. Miccosukee Tribe of Indians v. S. Fla. Water

Mgmt. Dist., 559 F.3d 1191, 1198 (11th Cir. 2009). A stay order must not be

“immoderate or of an indefinite duration.” CTI–Container Leasing Corp. v. Uiterwyk

Corp., 685 F.2d 1284, 1288 (11th Cir. 1982).

II.    A stay is warranted under the Court’s inherent powers.

       A.     A stay will not unduly prejudice or tactically disadvantage BTL or
              Intervenors.

       Neither BTL nor Intervenors will suffer any prejudice as a result of the

requested stay. The Eleventh Circuit accepted review of the denial of class

certification in Precision on October 21, 2024. The plaintiff’s opening brief in the

merits appeal is currently due December 2, 2024 (40 days from the order granting

review). As for McKesson, the Supreme Court will issue a decision in the October

2024 term, which will end around the last week of June 2025. See Figueroa v.



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Carrington Mortg. Servs. LLC, No. 8:15-CV-2414-T-24TGW, 2016 WL 718289, at *3

(M.D. Fla. Feb. 22, 2016) (staying TCPA action pending relevant Supreme Court

decision, where “the Supreme Court's decision is likely forthcoming within the next

several months”). The stay will be “spent within reasonable limits, so far at least as

they are susceptible of prevision and description,” given this timeframe. Landis, 299

U.S. at 257.

      In sum, waiting several months for the Eleventh Circuit to decide Precision and

for the Supreme Court to decide McKesson would not prejudice BTL or Intervenors,

and the stay is warranted under the Court’s inherent powers.

      B.       A stay will simplify the issues and streamline the case.

      With respect to Precision, the Eleventh Circuit has not decided whether users

of online fax services have Article III standing to sue under the TCPA. There are

district court decisions going both ways on that question. Compare Douglas Phillip

Brust, D.C., P.C. v. Opensided MRI of St. Louis LLC, 343 F.R.D. 581, 591 (E.D. Mo.

2023) (certifying all fax recipients class, holding “the receipt of unwanted faxes via

online fax services is sufficient to confer Article III standing to bring a claim under

the TCPA”), with Precision, 2024 WL 4460209, at *1 (reaching the opposite

conclusion). The Eleventh Circuit’s decision in Precision will answer this question,

which will undoubtedly simplify the issues and streamline the case going forward.

      With respect to McKesson, current Eleventh Circuit authority holds that district

courts are required by the Hobbs Act to follow a final order of the FCC interpreting

the TCPA. See, e.g., Murphy, 797 F.3d at 1307; Mais, 768 F.3d at 1120–21; Gorss

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Motels, 931 F.3d at 1109 (Pryor, J., concurring). Therefore, if this Court were to

decide the pending motions today, it would be forced to determine which of the

various FCC rulings advanced by the parties are controlling, be it the 2003

Commission Order, the 2015 WestFax Bureau Ruling, or the 2019 Amerifactors

Bureau Ruling. The Supreme Court has agreed to decide in McKesson whether district

courts are required to follow the FCC’s interpretation of the TCPA or, instead,

whether the courts should merely “do their ordinary job of interpreting statutes, with

due respect for the views of the Executive Branch.” Loper Bright, 144 S. Ct. at 2267.

Thus, a stay would serve judicial economy, and is warranted under the Court’s

inherent powers.

      C.     A stay will reduce the burden of litigation on the parties and on the
             Court.

      The Eleventh Circuit’s decision in Precision and the Supreme Court’s decision

in McKesson will set the parameters for how this Court should rule on BTL’s pending

Motion to Decertify and Plaintiffs’ Motion for Final Approval. A stay pending these

decisions would thus reduce the burden of litigation, and the requested stay is

warranted under the Court’s inherent powers.

                                     Conclusion

      For the foregoing reasons, the Court should stay this action pending the

Eleventh Circuit’s decision in Marc Irwin Sharman, M.D., P.A. v. Precision Imaging St.

Augustine, LLC, No. 24-90023 (11th Cir.), and the Supreme Court’s decision in




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McLaughlin Chiropractic Assoc. v. McKesson Corp., No. 23-1226, cert. granted 2024 WL

4394119 (U.S. Oct. 4, 2024).

                            Local Rule 3.01(g) Certification

      On October 21, 2024, undersigned counsel conferred by email with counsel for

Defendant, BTL. BTL’s counsel advised the undersigned that while BTL disagrees

with various of the statements and arguments made by Plaintiffs in this motion to

stay, including Plaintiffs’ characterization of BTL’s position in this litigation

regarding Article III and Amerifactors as well as Plaintiffs’ characterization of

existing law in the Eleventh Circuit and elsewhere, BTL agrees with Plaintiffs and

their counsel that a stay of this litigation is warranted pending a decision by the

Supreme Court in McKesson and the Eleventh Circuit in Precision, as a stay is likely to

materially reduce the likelihood of substantial expenditures of resources by the Court

and the parties that could otherwise be avoided.

      On October 24, 2024, undersigned counsel conferred by email with counsel for

Intervenors, Technology Training Assocs., Inc., Larry F. Schwanke, D.C.,

Barewood Outlet, Inc., and Thomas Savino d/b/a WebRx Pharmacy Palace,

regarding the relief sought. Intervenors’ counsel advised that Intervenors do not

oppose the relief sought.


                                         Respectfully submitted,


                                         /s/ Glenn L. Hara




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                                   Class Counsel




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                            CERTIFICATE OF SERVICE

       I hereby certify that on October 25, 2024, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system which will send notification

of such filing to all attorneys of record.



                                             s/Glenn L. Hara




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